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                                                                   UNITED STATES DISTRICT COURT

                                                                     FOR THE DISTRICT OF ALASKA



                                   RAYMOND C. GIVENS,
900 WEST FIFTH AVENUE, SUITE 700
 ANCHORAGE, ALASKA, 99501-2029




                                                                                            COMPLAINT FOR DECLARATORY
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                                                    Plaintiff,                              JUDGMENT, DAMAGES, AND
                                           v.                                               SPECIFIC PERFORMANCE
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                                   WALLACE OENGA,
                                                    Defendant.                              Case No. 3:19-cv-00043-HRH


                                                    COMES NOW PLAINTIFF RAYMOND C. GIVENS, by his undersigned

                                   counsel, and for his Complaint for Declaratory Judgment, and for Specific Performance or

                                   Damages against DEFENDANT WALLACE OENGA states and alleges as follows:

                                                                                    PARTIES

                                           1.       Plaintiff Raymond C. Givens is, and at all material times was, a resident of the

                                   State of Washington.

                                           2.       Defendant Wallace Oenga is, and at all material times was, a resident of the

                                   State of Alaska.


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                                                                       JURISDICTION AND VENUE

                                           3.       Plaintiff and Defendant are citizens of different states, and the sum or value of

                                   Plaintiff’s claim against Defendant exceeds $75,000. Accordingly, this Court has jurisdiction

                                   over this action for specific performance and damages under 28 U.S.C. § 1332.

                                           4.       An actual justiciable controversy exists between Plaintiff and Defendant.

                                   Accordingly, this Court has jurisdiction over this action for declaratory relief under 28 U.S.C.

                                   §§ 2201 and 2202 and Federal Rule of Civil Procedure 57.

                                           5.       Venue is proper before this Court under 28 U.S.C. § 1391.

                                                                                      FACTS
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                                           6.       On October 31, 2003, Plaintiff, an attorney doing business as Givens Law Firm,

                                   entered into a Contingency Fee Contract with the heirs of Andrew Oenga (“Oenga heirs”),
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                                   which included Defendant. The Contingency Fee Contract concerned the claims of the Oenga

                                   heirs, including Defendant, against the U.S. Department of the Interior, Bureau of Indian

                                   Affairs (“BIA”), for breach of its fiduciary duties to them in approving a lease of a restricted

                                   Native Allotment, located at Point Heald, east of Prudhoe Bay, Alaska (“Allotment”). The

                                   Allotment had previously been conveyed to Andrew Oenga. He had died, leaving his interest in

                                   the Allotment to his heirs, including Defendant, who one of Andrew Oenga’s sons. The Oenga

                                   heirs, including Defendant, believed the rental payments approved by the BIA were too low.

                                   Under the Contingency Fee Contract, Plaintiff was to be paid a percentage, on a sliding scale,

                                   of any increases in past and future rent he was able to obtain for the Allotment.




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                                           7.       After an extensive effort to resolve the matter with the BIA, in 2006 Plaintiff

                                   filed suit on behalf of the Oenga heirs, including on behalf of Defendant, in the Court of

                                   Federal Claims (“CFC”) against the United States. The suit alleged breach of the BIA’s

                                   fiduciary duties to the Oenga heirs, including Defendant. Wallace Oenga, et al. v. United States

                                   of America, and Intervenors BP Exploration, et al., United States Court of Claims, Case No.

                                   06-0491-NBF (“CFC Action”).

                                           8.       Plaintiff brought the action before the CFC instead of this Court so that the

                                   Oenga heirs, including Defendant, could claim not only increased future rents, but also

                                   damages resulting from the BIA’s failure to collect proper rents in past years. Thereafter, the
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                                   lessee of the Allotment, BP Exploration (Alaska), Inc. (“BP”), and its sublessee, intervened in
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                                   the CFC action on the side of the United States.
           Law Offices of




                                           9.       After years of intensive litigation, on February 8, 2011, CFC issued its Final

                                   Decision and Judgment in favor of the Oenga heirs, including Defendant, in the CFC Action,

                                   awarding them damages for failure to collect proper past rents, and a substantial increase in

                                   past and future rents for the Allotment.

                                           10.      All parties appealed the final Decision and Judgment of the CFC. Prior to

                                   briefing, the parties entered into mediation. On June 23, 2011, a Confidential Term Sheet was

                                   signed on behalf of all parties. It set out the terms of agreement on a substantially increased

                                   comprehensive settlement.

                                           11.       On August 5, 2011, Plaintiff and the Oenga heirs, including Defendant, signed a

                                   written Contingency Fee Contract First Amendment. Under it, they agreed to amend the


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                                   original Contingency Fee Contract by substituting its sliding scale with payment to Plaintiff of

                                   lower percentage of the full amount (rather than a higher percentage of the increase) of future

                                   rents through any extended term of the lease. The purpose and effect of this amendment was to

                                   simplify the calculation of attorney’s fees due to Plaintiff, and to slightly reduce those fees,

                                   thus being in the clients’ interest. The amendment provided: “Clients shall direct that these

                                   payments for professional services shall be paid directly to Attorney by Lessee BP

                                   Exploration (Alaska), Inc. and/or the United States or any subdivision thereof from the

                                   funds due Clients at the same time the remaining funds due are paid to Clients.”

                                   (Emphasis added.)
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                                           12.      On May 24, 2012, at the request of the BIA, Plaintiff agreed to further reduce

                                   his attorney’s fees in a Fee/Cost Reduction Agreement, which was signed by Plaintiff and by
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                                   the Oenga heirs, including Defendant. Again, this was in the clients’ interest. In this reduction

                                   agreement, Plaintiff agreed to have his costs taken “off the top” of the lump sum settlement,

                                   instead of out of the clients’ share of that payment, thereby reducing the amount upon which

                                   Plaintiff’s contingent fee was determined. The Fee/Cost Reduction Agreement did not modify

                                   the above-quoted promise by the Oenga heirs, including Defendant, in the Contingency Fee

                                   Contract First Amendment to direct that BP and/or the United States or any subdivision thereof

                                   pay Plaintiff directly from the future rents when due.

                                           13.      On May 30, 2012, BP and its sublessees, the United States, Plaintiff, and the

                                   Oenga heirs, including Defendant, implemented the terms previously agreed to in the June 23,

                                   2011 Confidential Term Sheet by signing a confidential Settlement Agreement and Release of


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                                   All Claims (“2012 Settlement Agreement”), resolving all claims that Plaintiff had brought on

                                   behalf of the Oenga heirs, including Defendant, against the United States in the CFC Action

                                   and various administrative proceedings. Under that agreement, BP agreed to pay to the Oenga

                                   heirs, including Defendant, a lump-sum settlement as payment for increased past rents. In

                                   addition, BP promised to pay higher future annual rents through 2036, to be calculated each

                                   year based on an increase in the cost of living index. The 2012 Settlement Agreement

                                   acknowledged Plaintiff’s right, under the above-mentioned Contingency Fee Contract, as

                                   amended, to receive payment for his fees from future rents paid on the Allotment. A

                                   replacement lease for the Allotment was entered into reflecting these provisions. Because both
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                                   the 2012 Settlement Agreement and the replacement lease include confidentially clauses, the
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                                   facts are stated generally herein. Subsequent pleadings and documents filed in this action that
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                                   include greater specificity will be filed under seal.

                                           14.      Initially, Defendant complied with his obligations under the Contingency Fee

                                   Contract, as amended, by directing the U.S. Department of the Interior, Office of Special

                                   Trustee (“OST”), to make payments to Plaintiff from Defendant’s share of rent when it was

                                   paid by BP, which payment was held by OST in Defendant’s Individual Indian Money (“IIM”)

                                   account. Plaintiff timely received payments from OST from Defendant’s IIM account from

                                   rents paid for calendar year 2012 through calendar year 2015. Under the replacement lease,

                                   each of these rents were paid by BP in October of the preceding year.

                                           15.      On August 20, 2015, Weldon B. Loudermilk, Regional Director of the BIA

                                   Alaska Region, issued a written decision (“Loudermilk Decision”). It concluded that OST


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                                   should pay Plaintiff from the IIM accounts of the Oenga heirs, including Defendant, under the

                                   Contingency Fee Contract, as amended, only upon a written direction from them to do so. The

                                   Loudermilk Decision also concluded, however, that automatic yearly payments could be made

                                   by OST to Plaintiff from the IIM accounts of the Oenga heirs, including Defendant, upon their

                                   request that such automatic annual payments be made.

                                           16.      Following the Loudermilk Decision, and based on Defendant’s direction to OST

                                   that it make automatic annual payments to Plaintiff, Plaintiff timely received payments from

                                   OST from Defendant’s IIM account from rents for calendar year 2016 (paid by BP in October

                                   2015) and for calendar year 2017 (paid by BP in October 2016).
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                                           17.      Plaintiff, however, did not and has not received payment from OST for

                                   Defendant’s share of rent for calendar year 2018 (paid by BP in October 2017), which was
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                                   $42,323.05. Defendant told Plaintiff that this was because Defendant had revoked his

                                   instructions to OST to make annual payments to Plaintiff, that the funds for calendar year 2018

                                   were paid by OST directly to Defendant, that Defendant had already spent the funds, and that

                                   Defendant was unable to pay what he owed to Plaintiff. This constituted a breach by Defendant

                                   of his obligations to Plaintiff under the above-quoted language of the Contingency Fee

                                   Agreement, as amended.

                                           18.      Plaintiff attempted to work with Defendant to allow him to “catch up” on his

                                   payment obligations without having to bring suit against him. On February 26, 2018, Plaintiff

                                   and Defendant entered into a written Settlement Agreement (“2018 Agreement”), which

                                   included the following provisions: Defendant confirmed that he was obligated under the


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                                   Contingency Fee Contract, as amended, to pay to Plaintiff from his share of the rents paid by

                                   BP through calendar year 2036. Plaintiff agreed to refrain from bringing suit against Defendant

                                   if Plaintiff received by October 31, 2018, the amount Defendant owed Plaintiff from rent for

                                   calendar year 2018 (paid by BP in October 2017), plus interest at 5% per annum. Defendant

                                   agreed to pay this amount out of Defendant’s share of rent received for calendar year 2019 (to

                                   be paid by BP in October 2018). Defendant also agreed to pay Plaintiff the amount Defendant

                                   owed from rent for calendar year 2019 (to be paid by BP in October 2018). Defendant agreed

                                   again to sign all forms and take all action necessary to give OST direction to make automatic

                                   yearly payments to Plaintiff from future rents paid by BP, as authorized by the Loudermilk
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                                   Decision. Finally, Defendant agreed to pay Plaintiff his full reasonable attorney’s fees in the
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                                   event that Plaintiff prevailed in a suit against Defendant to enforce the 2018 Settlement
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                                   Agreement.

                                           19.      Notwithstanding both Defendant’s obligations to Plaintiff under the

                                   Contingency Fee Contract, as amended, and Defendant’s promises to Plaintiff in the 2018

                                   Settlement Agreement, Plaintiff did not receive payment from OST from Defendant’s share of

                                   rent for calendar year 2019 (paid by BP in October 2018), which was $43,538.38. On

                                   information and belief, after execution of the 2018 Settlement Agreement, Defendant rescinded

                                   his direction to OST to pay Plaintiff, in breach of Defendant’s obligations to Plaintiff under the

                                   above-quoted language of the Contingency Fee Contract, as amended, and Defendant’s

                                   promises in the 2018 Settlement Agreement.




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                                           20.      Adding the amount that Defendant owed to Plaintiff from rent for calendar year

                                   2018 (paid by BP in October 2017) of $42,323.05 and the amount that Defendant owed to

                                   Plaintiff from rent for calendar year 2019 (paid by BP in October 2018) of $43,538.38, the past

                                   principal amounts owed by Defendant to Plaintiff is $85,861.43. In addition, under the 2018

                                   Settlement Agreement, Defendant owes to Plaintiff interest of 5% per annum on these amounts,

                                   from the date payments were due, and Plaintiff’s full reasonable attorney’s fees.

                                           21.      Plaintiff has fully and completely performed his promises and obligations under

                                   the Contingency Fee Contract, as amended, and the 2018 Settlement Agreement. As a result of

                                   Plaintiff’s efforts, Defendant receives a substantial increase in annual rent from BP.
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                                           22.      Plaintiff has repeatedly demanded that Defendant direct OST to pay him what is
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                                   owed, as Defendant is required to do under the Contingency Fee Agreement, as amended, and
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                                   the 2018 Settlement Agreement, but Defendant has repeatedly refused and failed to do so. On

                                   January 7, 2019, Plaintiff sent a final notice to Defendant demanding payment of $85,861.43,

                                   plus accrued interest, and advising that this suit would be filed if payment was not received by

                                   January 31, 2019.

                                           23.      On information and belief, Defendant is insolvent and is unable pay Plaintiff,

                                   except from rent to be paid by BP in future calendar years.

                                           24.      Plaintiff no longer represents, or serves as an attorney for, the Oenga heirs,

                                   including for Defendant.




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                                                                           CLAIMS FOR RELIEF

                                                                                  COUNT I
                                                                           (Declaratory Judgment)

                                           25.      Plaintiff incorporates by reference all prior allegations of this Complaint, as if

                                   fully set forth herein.

                                           26.      There is a genuine and bona fide dispute and an actual controversy and

                                   disagreement between Plaintiff and Defendant regarding Defendant’s obligations to Plaintiff

                                   under the Contingency Fee Contract, as amended, and the 2018 Settlement Agreement.

                                           27.      Pursuant to 28 U.S.C. §§ 2201 and 2202, Plaintiff asks that the Court declare as
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                                   follows:
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                                                    a.       The Contingency Fee Contract, as amended, and the 2018 Settlement
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                                   Agreement are valid and enforceable contracts.

                                                    b.       Defendant, as successor to Andrew Oenga and as signatory to the

                                   Contingency Fee Contract, as amended, and the 2018 Settlement Agreement, is bound by them.

                                                    c.       Defendant owes to Plaintiff that percentage of Defendant’s share of rents

                                   paid through calendar year 2036 (to be paid by BP in October before each calendar year), as

                                   provided in the Contingency Fee Contract, as amended, and the 2018 Settlement Agreement.

                                                    d.       Defendant is obligated under the Contingency Fee Contract, as amended,

                                   and the 2018 Settlement Agreement to direct BP and/or OST to pay to Plaintiff, out of

                                   Defendant’s share of rent for calendar year 2020 (to be paid by BP in October 2019) the past

                                   amount Defendant owes to Plaintiff from rents paid for calendar year 2018 (paid by BP in



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                                   October 2017) and for calendar year 2019 (paid by BP in October 2018), which amounts total

                                   $85,861.43, plus accrued interest on each amount of 5% per annum and Plaintiff’s full

                                   reasonable attorney’s fees.

                                                    e.       Defendant is obligated under the Contingency Fee Contract, as amended,

                                   and the 2018 Settlement Agreement to direct BP and/or OST to make future automatic, annual

                                   payments to Plaintiff of Defendant’s share of rents to be paid by BP.

                                                                               COUNT II
                                                                     (Damages for Breach of Contract)

                                           28.      Plaintiff incorporates by reference all prior allegations of this Complaint, as if
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                                   fully set forth herein.
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                                           29.      Plaintiff is entitled to an award of his damages resulting from Defendant’s
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                                   failure and refusal to pay to Plaintiff the past amounts owed to him under the Contingency Fee

                                   Contract, as amended, and the 2018 Settlement Agreement from past rents for calendar year

                                   2018 (paid by BP in October 2017) and for calendar year 2019 (paid by BP in October 2018),

                                   which amounts total $85,861.43, plus accrued interest on each amount of 5% per annum and

                                   Plaintiff’s full reasonable attorney’s fees.

                                                                               COUNT III
                                                              (Specific Performance for Past Payments Due)

                                           30.      Plaintiff incorporates by reference all prior allegations of this Complaint, as if

                                   fully set forth herein.




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                                           31.       Plaintiff has no adequate remedy at law to enforce the Defendant’s obligations

                                   to pay him the amounts owed from past rents, because Defendant is insolvent and unable to pay

                                   Plaintiff except from future rent to be paid by BP in future calendar years.

                                           32.       Plaintiff is entitled to the remedy of specific performance of the terms of the

                                   Contingency Fee Contract, as amended, and the 2018 Settlement Agreement regarding

                                   payments owed from past rents. In particular, Plaintiff is entitled to an order of the Court

                                   requiring Defendant to instruct BP and/or OST to pay to Plaintiff, out of the rent for calendar

                                   year 2020 (to be paid by BP in October 2019), the amounts Defendant owes to Plaintiff from

                                   past rents received for calendar year 2018 (paid by BP in October 2017) and for calendar year
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                                   2019 (paid by BP in October 2018), which amounts total $85,861.43, plus accrued interest on

                                   each amount at 5% per annum and Plaintiff’s full reasonable attorney’s fees.
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                                                                               COUNT IV
                                                             (Specific Performance for Future Payments Due)

                                           33.       Plaintiff incorporates by reference all prior allegations of this Complaint, as if

                                   fully set forth herein.

                                           34.       Plaintiff has no adequate remedy at law to enforce the Defendant’s obligations

                                   to pay him the amounts owed from future rents because a legal remedy of damages would

                                   require Plaintiff to bring multiple lawsuits for payments owed from rents paid by PB for future

                                   calendar years.

                                           35.       Plaintiff is entitled to the remedy of specific performance of the terms of the

                                   Contingency Fee Contract, as amended, and the 2018 Settlement Agreement regarding



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                                   payments that will be owed from future rents. In particular, Plaintiff is entitled to an order of

                                   the Court requiring Defendant to instruct BP and/or OST to make future automatic, annual

                                   payments to Plaintiff of out of Defendant’s share of rents to be paid by BP in October of each

                                   year for the following calendar year, through calendar year 2036.

                                                                           PRAYER FOR RELIEF

                                           WHEREFORE, Plaintiff Raymond C. Givens asks for the following relief against

                                   Defendant Wallace Oenga:

                                           1.       The Court should declare as follows:

                                                    a.       The Contingency Fee Contract, as amended, and the 2018 Settlement
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                                   Agreement are valid and enforceable contracts.
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                                                    b.       Defendant, as successor to Andrew Oenga and as signatory to the
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                                   Contingency Fee Contract, as amended, and the 2018 Settlement Agreement, is bound by them.

                                                    c.       Defendant owes to Plaintiff that percentage of Defendant’s share of rents

                                   paid through calendar year 2036 (to be paid by BP in October before each calendar year), as

                                   provided in the Contingency Fee Contract, as amended, and the 2018 Settlement Agreement.

                                                    d.       Defendant is obligated under the Contingency Fee Contract, as amended,

                                   and the 2018 Settlement Agreement to direct BP and/or OST to pay to Plaintiff, out of

                                   Defendant’s share of rent for calendar year 2020 (to be paid by BP in October 2019) the past

                                   amounts Defendant owes to Plaintiff from rents paid for calendar year 2018 (paid by BP in

                                   October 2017) and for calendar year 2019 (paid by BP in October 2018), which amounts total




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                                   $85,861.43, plus accrued interest on each amount of 5% per annum and Plaintiff’s full

                                   reasonable attorney’s fees.

                                                    e.       Defendant is obligated under the Contingency Fee Contract, as amended,

                                   and the 2018 Settlement Agreement to direct BP and/or OST to make future automatic, annual

                                   payments to Plaintiff of Defendant’s share of rents to be paid by BP.

                                           2.       The Court should award Plaintiff his damages resulting from Defendant’s failure

                                   and refusal to pay to Plaintiff the past amounts owed to him under the Contingency Fee

                                   Contract, as amended, and the 2018 Settlement Agreement from past rents for calendar year

                                   2018 (paid by BP in October 2017) and for calendar year 2019 (paid by BP in October 2018),
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                                   which amounts total $85,861.43, plus accrued interest on each amount of 5% per annum and

                                   Plaintiff’s full reasonable attorney’s fees.
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                                           3.       The Court should enter an order of specific performance requiring Defendant to

                                   instruct BP and/or OST to pay to Plaintiff, out of the rent for calendar year 2020 (to be paid by

                                   BP in October 2019), the amounts Defendant owes to Plaintiff under the Contingency Fee

                                   Contract, as amended, and the 2018 Settlement Agreement from past rents received for

                                   calendar year 2018 (paid by BP in October 2017) and for calendar year 2019 (paid by BP in

                                   October 2018), in the total amount of $85,861.43, plus accrued interest on each amount of 5%

                                   per annum and Plaintiff’s full reasonable attorney’s fees.

                                           4.       The Court should enter an order of specific performance requiring Defendant to

                                   instruct BP and/or OST to make future automatic, annual payments to Plaintiff of the amounts

                                   owed to him under the Contingency Fee Contract, as amended, and the 2018 Settlement


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                                   Agreement out of Defendant’s share of rents to be paid by BP in October of each year for the

                                   following calendar year, through calendar year 2036.

                                           5.       The Court should award Plaintiff his costs and attorney’s fees in having to bring

                                   this action.

                                           6.       The Court should grant to Plaintiff such other relief as appears just.



                                           Dated at Anchorage, Alaska, this 14th day of February, 2019.

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                                   COMPLAINT FOR DECLARATORY JUDGMENT,
                                   DAMAGES, AND SPECIFIC PERFORMANCE
                                   Raymond C. Givens v. Wallace Oenga,
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                                                                                                                             Exhibit N
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